                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DMSION
                                No. S:17-CR-392-D-4


UNITED STATES OF AMERICA                     )
                                             )
                                             )
                   v.                        )               ORDER
                                             )
ANDRE DURON ROBINSON,                        )
                                             )
                          Defendant.         )


       On October 30, 2020, Andre Duron Robinson ("Robinson" or "defendant'') moved for

compassionate release under the First Step Act ("First Step Act"), Pub. L. No. 115-391, § 603{b},

132 Stat. 5194, 5238--41 (2018) (codified as amended at 18 U.S.C. § 3582) [D.E. 292]. On

November 11, 2020, the government responded [D.E. 296]. On November 18, 2020, Robinson

replied [D.E. 298]. As explained below, the court denies Robinson's motion.

                                                 I.

       On June 4, 2018, pursuant to a written plea agreement, Robinson pleaded guilty to conspiracy

to distribute and possess with the intent to distribute cocaine (count one) and possession with the

intent to distribute 40 grams or more of fentanyl and SO grams or more of a mixture and substance

containing a detectable amount of methamphetam:ine (count six). See [D.E. 113, 11 S]. On April 3,

2019, the court held a sentencing hearing and adopted the facts set forth in the Presentence

Investigation Report ("PSR"). See [D.E. 233,237]; Fed. R. Crim. P. 32(i)(3)(A}-{B). The court

calculated Robinson's total offense level to be 25, his criminal history category to be V, and his

advisory guideline range to be 100 to 125 months' imprisonment. See [D.E. 237]. After granting

the government's motion for downward departure and thoroughly considering all relevant factors



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under 18 U.S.C. § 3SS3(a), the court sentenced Robinson to 72 months' imprisonment on each count,

to run concurrently. See [D.E. 236] 3; [D.E. 237] 3. Robinson did not appeal.

       On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

S249. Before the First Step Act, only the Director of the Bureau of Prisons (''BOP") could file a

motion for compassionate release. Under the First Step Act, a sentencing court may modify a

sentence of imprisonment either upon a motion of the Director of the BOP "or upon motion of the

defendant after the defendant has fully exhausted all admjnjstrative rights to appeal a failure of the

[BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such

arequestbythewardenofthe defendant's facility, whichever is earlier." 18 U.S.C. § 3S82(c)(l)(A).

       After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

"extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

not a danger to the safety of another person or the community. Id. In deciding to reduce a sentence

under section3S82(c)(l)(A), acourtmustconsultthe sentencing factors in 18 U.S.C. § 3SS3(a)and

must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

States Sentencing Commission (the "Commission"). Id.

       The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

parrots section 3S82(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

application notes provide examples ofextraordinary and compelling reasons, including: (A) serious

medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

deterioration in physical and mental health due to aging and having served at least 10 years or 75%

of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

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extraordinary and compelling reason. See U.S.S.G. § lB 1.13 cmt. n.1. 1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:.

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia

                       (ii) The defendant is-

                             (1) suffering from a serious physical or medical condition,

                             (II) suffering from a serious functional or cognitive impairment,
                                  or

                             (Ill) experiencing deteriorating physical or mental health because
                                   of the aging process,

                            that substantially diminishes the ability of the defendant to
                            provide self-care within the environment of a correctional facility
                            and from which he or she is not expected to recover.

                 (B) Age of the Defendant.-The defendant (i) is at least 65 years old; (ii)
                       is experiencing a serious deterioration in physical or mental health
                       because ofthe aging process; and (iii) has served at least 10 years or 75
                       percent of his or her term of imprisonment, whichever is less.

                 (C) Family Circumstances.-

                      (i) The death or incapacitation ofthe caregiver ofthe defeJ;J.dant' s minor
                          child or minor children.

                      (ii) The incapacitation of the defendant's spouse or registered partner
                           when the defendant would be the only available caregiver for the
                          spouse or registered partner.

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that "an extraordinary and compelling reason need not have been unforeseen at the time of

sentencingtowarrantareductioninthetermofimprisonment." U.S.S.G. § lBl.13 cmt.n.2. Thus,

the fact "that an extraordinary and compelling reason reasonably could have been known or

anticipated by the sentencing court does not preclude consideration for a reduction under this policy

statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of the

defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy

statement." U.S.S.G. § lBl.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

updated U.S.S.G. § lBl.13 to account for the First Step Act. Accordingly, section lBl.13 does not

provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

3582(c)(l)(A).     See,   ~   United States v. McCoy, 981 F.3d 271, 280-84 (4th Cir. 2020).

Nevertheless, section lBl .13 provides informative policy when assessing an inmate's motion, but

a court independently determines whether "extraordinary and compelling reasons" warrant a sentence

reduction under 18 U.S.C. § 3582(c)(l)(A)(i). See id. at 284. In doing so, the court consults not

only U.S.S.G. § lBl.13, but also the text of 18 U.S.C. § 3582(c)(l)(A) and the section 3SS3(a)

factors. See,~ id. at 280-84; United States v. Jones, 980 F.3d 1098, 1101--03 (6th Cir. 2020);

United States v. YYim, 980 F.3d 1178, 1180-81 (7th Cir. 2020); United States v. Ruffin,/978 F.3d

 1000, 1007--08 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228, 237-38 (2d Cir. 2020);




                 (D) Other Reasons.-As determined by the Director of the Bureau of
                     Prisons, there exists in the defendant's case an extraordinary and
                     compelling reason other than, or in combination with, the reasons
                     described in subdivisions (A) through (C).

U.S.S.G. § lBl.13 cmt. n.1.

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United States v. Clark, No. 1:09cr336-1, 2020 WL 1874140, at *2 (M.D.N.C. Apr. 15, 2020)

(unpublished).

       As for Robinson's request for compassionate release, Robinson contends that he has

exhausted his admini!ffl'ative requirements. On September 28, 2020, Robinson submitted a request

for compassionate release to the BOP. See [D.E. 292] 2. As of the date of filing on October 30,

2020, over thirty days have elapsed and Robinson alleges that the BOP has not responded to his

request. See id. Moreover, the government has not invoked section 3582's exhaustion requirement.

See [D.E. 296]; United States v. Al~ 960 F.3d 831, 833-34 (6th Cir. 2020).2 Accordingly, the

court addresses -Robinson's claim on the merits.

       Robinson seeks compassionate release pursuant to section 3582(c)(1 )(A). In support of his

request, Robinson cites the COVID-19 pandemic and his health copditions, including that he once

was overweight, he was a "long-time smoker," he sustained a serious leg injury which was treated,

and has "degenerative hip disease" and requires a hip replacement. See [D.E. 292] 6-7, 9-10.

Robinson also cites the conditions at Hazleton USP, his rehabilitation efforts, his release plan, and

that he has served over 58% of his sentence. See [D.E. 292] 3-4, 8-9, 13.

       As for the medical condition ofthe defendant policy statement, the policy statement requires

that the defendant is "suffering from a serious physical or medical condition ... from which he or

she is not expected to recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). While Robinson states that he

is overweight, was a long-time smoker, had a serious leg injury, and requires hip replacement

surgery, he has not demonstrated that he is not going to recover from these conditions or that they


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          The Fourth Circuit has not addressed whether section 3582's exhaustion requirement is a
jurisdictional or claims-processing requirement. The court assumes without deciding that the
requirement is a claims-processing rule, and that the government must ''properly invoke" the rule
for this court to enforce it. See A.mm, 960 F.3d at 833-34.

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cannot be treated while Robinson serves his sentence.3 Accordingly, reducing Robinson's sentence

is not consistent with application note l(A). See 18 U.S.C. § 3582(c)(l)(A).

       As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic, Robinson's health conditions, rehabilitation efforts, and release plan are

extraordinary and compelling reasons under section 3582(c)(l)(A). Cf. United States v. Raia, 954

F.3d 594, 597 (3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and the possibility that

it may spread to a particular prison alone cannot independently justify compassionate release,

especially considering BOP' s statutory role, and its ex.tensive and professional efforts to curtail the

virus's spread.''). Even so, the section3553(a) factors counsel against reducing Robinson's sentence.

See United States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); Clark, 2020 WL 1874140,

at *3-8.

       Robinson is 33 years old and engaged in very serious criminal behavior between May 2015

and December 14, 2017. See PSR [D.E. 138]          ff 15-22. Robinson was a distributor in a drug
trafficking organization operating in Fayetteville and Wilmington, North Carolina, was accountable

for 605.235 grams of cocaine, 98.31 grams of fentanyl, 76.81 grams ofmethamphetamine, 34.1

grams of heroin, and 4.67 grams of marijuana, and possessed a firearm in connection with his drug

trafficking activities. See id. Robinson also is a violent recidivist with convictions for larceny,

possession of drug paraphernalia, breaking and entering a motor vehicle, felony larceny, common

law robbery (four counts), possession of cocaine (two counts), and possession ofa firearm by a felon

(two counts). See id.   ff 27-35. Nonetheless, Robinson has taken some positive steps while


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         Although. Robinson contends that he cannot receive hip replacement surgery at USP
Hazelton, Robinson's BOP doctors have recommended him for ''transfer to a facility for hip
replacement surgery." See [D.E. 292] 4; [D.E. 293] 3; [D.E. 298] 4.

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incarcerated. See [D.E. 292] 4. The court also has considered Robinson's potential exposure to

COVID-19, his health conditions, his rehabilitation efforts, and his release plan. C£ Pe.m,er v.

United States, 562 U.S. 476, 480-81 (2011). Having considered the entire record, the steps that the

BOP has taken to address COVID-19 and treat Robinson, the section 3553(a) factors, Robinson's

arguments, the government's persuasive response, and the need to punish Robinson for his criminal

behavior, to incapacitate Robinson, to promote respect for the law, to deter others, and to protect

society, the court declines to grant Robinson's motion for compassionate release. See,·� Chavez­

Mez.a v. United States, 138 S. Ct 1959, 1966-68 (2018); Ruffin,, 978 F.3d at 1008-09; Chambliss,

948 F.3d at 693-94; United States v. Hill, No. 4:13-CR-28-BR, 2020 WL 205515, at *2 (E.D.N.C.

Jan. 13, 2020) (unpublished).

       As for Robinson's request for home confinement, Robinson apparently seeks relief under the

CARES Act. See [D.E. 292] 5-6. The CARES Act does not provide this court with the authority

to grant home confinement. See United States v. Brummett, No. 20-5626, 2020 WL 5525871, at •2

(6th Cir. Aug. 19, 2020) (unpublished) ("[T]he authority to grant home confinement remains solely

with the Attorney Oeneral and the BOP.''); United States v. McCoy, No. 3:19-CR-35-KDB-DCK.,


2020 WL 5535020, at •1 (W.D.N.C. Sept 15, 2020) (unpublished); United States          v. Gray, No.
4:12-CR-54-FL-1, 2020 WL 1943476, at *3 (E.D.N.C. Apr. 22, 2020) (unpublished). As such, the

court dismisses Robinson's request for home confinement

                                                IL

       In sum, the court DENIES Robinson's motion for compassionate release [D.E. 292], and

DISMISSES Robinson's request for home confinement.




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SO ORDERED. This t 1. day of January 2021.




                                             JSC.DEVERill
                                             United States District Judge




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